1:17-cv-01168-JES # 1   Page 1 of 29
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1:17-cv-01168-JES # 1   Page 2 of 29
1:17-cv-01168-JES # 1   Page 3 of 29
1:17-cv-01168-JES # 1   Page 4 of 29
1:17-cv-01168-JES # 1   Page 5 of 29
1:17-cv-01168-JES # 1   Page 6 of 29
1:17-cv-01168-JES # 1   Page 7 of 29
1:17-cv-01168-JES # 1   Page 8 of 29
1:17-cv-01168-JES # 1   Page 9 of 29
1:17-cv-01168-JES # 1   Page 10 of 29
1:17-cv-01168-JES # 1   Page 11 of 29
1:17-cv-01168-JES # 1   Page 12 of 29
1:17-cv-01168-JES # 1   Page 13 of 29
1:17-cv-01168-JES # 1   Page 14 of 29
1:17-cv-01168-JES # 1   Page 15 of 29
1:17-cv-01168-JES # 1   Page 16 of 29
1:17-cv-01168-JES # 1   Page 17 of 29
1:17-cv-01168-JES # 1   Page 18 of 29
1:17-cv-01168-JES # 1   Page 19 of 29
1:17-cv-01168-JES # 1   Page 20 of 29
1:17-cv-01168-JES # 1   Page 21 of 29
1:17-cv-01168-JES # 1   Page 22 of 29
1:17-cv-01168-JES # 1   Page 23 of 29
1:17-cv-01168-JES # 1   Page 24 of 29
1:17-cv-01168-JES # 1   Page 25 of 29
1:17-cv-01168-JES # 1   Page 26 of 29
1:17-cv-01168-JES # 1   Page 27 of 29
1:17-cv-01168-JES # 1   Page 28 of 29
1:17-cv-01168-JES # 1   Page 29 of 29
